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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

                                    Case No.: 17-cr-00232



                                              )
UNITED STATES OF AMERICA                      )
                                              )
                Plaintiff,                    )
                                              )
                   Vs.                        )
                                              )
MUCHAEL FLYN                                  )
                                              )
                Defendant[s],                 )
                                              )
                                              /


    MOTION FOR LEAVE TO FILE OF AN AMICUS CURIAE BRIEF


COMES NOW, Julio Martinez, Joshua Macias, Vadimir Lements, indivially and

as directors of We Who Served-VSO, a nonprofit Association organized under the

Laws of the Commonwealth of Virginia, Vets for Trump, an unincorporated national

association with chapters in all 50 states, jointly and with approximately over

1,000,000 members, pursuant to Local Rule 7(o) and the general order of the court,

under docket # 211 file the instant motion for leave to file an Amicus Curiae Brief.

In support the appearing parties state and pray as follows:

                                 GROUNDS FOR RELIEF


   1.    The court has granted by way of docket # 211, MICHAEL T. FLYNN
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         granting 209 Motion to File Amicus Brief. The court has issued a briefing
                                                                                       Page




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          schedule, the instant motion for leave to file Amicus Curiae Brief attempts

          to satisfy the briefing schedule in all regards.

   2.     The movants are a nonprofit organization of veterans, and individuals that

          have sworn support the United States its constitution and the code of

          military justice, as retired members of the armed forces of the United

          States. The individual movants are all former military veterans that have

          served the United States and have sworn to protect defend the constitution

          of the United States.

   3.     The matters asserted herein are relevant to the disposition of the case

          insofar as the court has issued an order to accept Amicus Curiae Brief.

   4.     The appearing parties respectfully pray to brief the court on the following

          issues: A) whether or not to consider criminal contempt as against

          defendant General Michael T. Flynn; B) Whether the court should grant

          defendant’s Flynn’s motion to set aside the plea agreement; C) whether the

          court should grant the United States motion to dismiss the case.




WHEREFORE the appearing parties respectfully pray to this Honorable Court to

grant leave to file the attached Amicus Curiae brief in support of dismissing the case.
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                                                           Respectfully submitted,

                                                       NAVARRRO\ McKOWN

                                                  ____/S./___________________
                                                      Lorenzo J. Palomares, Esq.
                                                                 DC BAR 503044
                                                               Luis Navarro, Esq
                                                              Managing Member
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                     Case No.: 17-cr-00232



                                               )
UNITED STATES OF AMERICA                       )
                                               )
                 Plaintiff,                    )
                                               )
                    Vs.                        )
                                               )
MUCHAEL FLYN                                   )
                                               )
                 Defendant[s],                 )
                                               )
                                               /

  DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTERESTS

                                           LCvR7.1

In all civil or agency cases where a corporation is a party or intervenor, counsel of

record for that party or intervenor shall file a certificate listing any parent, subsidiary

or affiliate of that parties or intervenor. We Who Served-VSO is a nonprofit

organization organized under the laws of the Commonwealth of Virginia, Vets for

Trump is an unincorporated organization organized under the laws of the

Commonwealth of Virginia, neither has a parent or associated corporation or parent

organization. The remaining movants are all individual citizens of the

Commonwealth of Virginia and the State of Florida, they are all veterans of the

United States Armed Forces, having all served with distinction.
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DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTERESTS

                                  LCvR 26.1

  I, the undersigned, counsel of record for Who Served-VSO a nonprofit

  organization organized under the laws of the Commonwealth of Virginia and

  Vets for Trump an unincorporated organization organized under the laws of

  the Commonwealth of Virginia, certify that to the best of my knowledge and

  belief, the are no parent companies, subsidiaries, affiliates, or companies

  which own at least 10% of the stock of Vets for Trump which have any

  outstanding securities in the hands of the public.


                           CERTIFICATE OF SERVICE


  I HEREBY CERTIFY that on this day of filing the undersigned filed the

  motion for leave to file Amicus Brief to:

  Deborah A. Curtis
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  (202) 252-6920
  Email: deborah.curtis@usdoj.gov
  TERMINATED: 09/27/2019
  Designation: Assistant U.S. Attorney

  Jocelyn S. Ballantine
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  ATTORNEY TO BE NOTICED
                                                                                Page




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